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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  HOLOGIC, INC., and CYTYC SURGICAL
  PRODUCTS, LLC,
                                                            Civ. No. 15-1031-JFB
                         Plaintiffs,

        vs.                                                  FINAL JUDGMENT

  MINERVA SURGICAL, INC.,

                         Defendant.


        Pursuant to the Memorandum and Order entered on May 2, 2019 (D.I. 616) and

  the Jury Verdict (D.I 498),

        1.     Judgment is entered in favor of plaintiffs/counterclaim defendants

  Hologic,    Inc.    and       CYTYC   Surgical       Products,   LLC,    and     against

  defendant/counterclaimant Minerva, Inc., on plaintiffs/counterclaim defendants claim for

  infringement of U. S. Patent No. 9,9095,348 in the amount of $4,787,668.23; plus

  prejudgment interest in the amount of $270,533, plus postjudgment interest at the

  statutory rate of 2.44% under 35 U.S.C. § 1961(a).

        2.     Judgment is entered in favor of plaintiffs/counterclaim defendants

  Hologic,    Inc.    and       CYTYC   Surgical       Products,   LLC,   and      against

  defendant/counterclaimant Minerva, Inc., on plaintiffs’/counterclaim defendants’ claim

  for infringement of U. S. Patent No. 9,9095,348 in the amount of $1,629,304.08 in

  supplemental damages for Minerva’s infringing sales from April 1, 2018, through August

  13, 2018, plus prejudgment interest on that amount at the prime rate compounded

  quarterly from the date of infringement to August 13, 2018, (D.I. 520), plus post-



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  judgment interest thereafter at the legal rate under 28 U.S.C. § 1961 until such time as

  the judgment is paid.

        3.     Judgment is entered in favor of plaintiffs/counterclaim defendants Hologic,

  Inc. and CYTYC Surgical Products, LLC, and against defendant/counterclaimant

  Minerva, Inc. on defendant/counterclaimant Minerva’s counterclaims.

        4.     Defendant/counterclaimant     Minerva’s     counterclaims    are    hereby

  dismissed.

        IT IS SO ORDERED.

        DATED this 31st day of May 2019.

                                                 BY THE COURT:

                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge




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